             Case 2:19-cv-00878-MJP Document 4 Filed 06/10/19 Page 1 of 4




 1

 2

 3

 4

 5

 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE
 8      ANTHONY EUGENE LEWIS,
 9                                  Plaintiff,             NO. C19-878 MJP
10              v.                                         REPORT AND RECOMMENDATION
11      SURGEON GENERAL, et al.,
12                                  Defendants.
13          On June 4, 2019, plaintiff, a detainee at the King County Jail filed a proposed 42 U.S.C.
14
     § 1983 complaint and application to proceed in forma pauperis. Dkt. 1. According to the
15
     Court’s records plaintiff has filed 17 complaints in this Court and has three strikes under 28
16
     U.S.C. § 1915(g). The Court has reviewed the complaint and recommends it be DISMISSED
17

18   with prejudice and be counted as a strike.

19                                         BACKGROUND

20          The complaint names the Surgeon General of the United States, Loretta Lynch the
21
     former Attorney General, the United States of America, the Prime Minister of Israel, Bill Gates
22
     of Microsoft, a CBS news reporter, and others of plaintiff’s “so called family.” Dkt. 1 at 2-3.
23
     Plaintiff alleges there is a conspiracy to kill him and to conceal his true identity as a descendent
24
     of Abraham, Moses and Jesus; secret hearings have been conducted outside his presence; there
25

26   is an alien life form on Earth; portals into his body have been opened by magic; and the Ark of




       REPORT AND RECOMMENDATION - 1
             Case 2:19-cv-00878-MJP Document 4 Filed 06/10/19 Page 2 of 4




 1   God’s covenant has been kept away from him. Plaintiff alleges these acts place him in danger;
 2
     he therefore requests the court to appoint a “psychic/extra/sensory/attorney who is not afraid to
 3
     (die) . . . able to withstand witchcraft/voodoo/satanism.” Id. at 5.
 4
                                              DISCUSSION
 5
            The complaint should be dismissed for two reasons, First, the Court is required to
 6

 7   review complaints filed by prisoners such as plaintiff and must dismiss prisoner complaints

 8   which are frivolous, malicious, or fail to state a claim upon which relief may be granted. 28
 9   U.S.C. § 1915A(b); Resnick v. Hayes, 213 F.3d 443, 446–47 (9th Cir.2000). The complaint
10
     fails to state a claim upon which relief may be granted. There are no facts that establish any of
11
     the named defendants violated plaintiff’s constitutional rights. Some of the defendants, such as
12
     Bill Gates, are not state actors and therefore cannot be held liable under § 1983. Plaintiff also
13

14   makes conclusory allegations that are not tethered to verified facts. This includes claims such

15   as the existence of alien life forms and the use of magic to create portals into his body in order

16   to harm him.
17          While pro se pleadings should be liberally construed, there is no reading of the
18
     complaint that would support a finding that it states a cognizable claim for relief. The
19
     complaint should therefore be dismissed with prejudice under 28 U.S.C. § 1915A(b). Leave to
20
     amend should be denied because no amendment would cure the deficiencies contained in the
21

22   current complaint.

23          The complaint should also be dismissed under the Three Strikes Rule. Under § 1915(g),

24   a prisoner who brings three or more civil actions or appeals which are dismissed as frivolous or
25
     for failure to state a claim will be barred from bringing any other civil action or appeal in
26




       REPORT AND RECOMMENDATION - 2
              Case 2:19-cv-00878-MJP Document 4 Filed 06/10/19 Page 3 of 4




 1   forma pauperis “unless the prisoner is under imminent danger of serious physical injury.” 28
 2
     U.S.C. § 1915(g). The Court’s records show that at least three of the cases plaintiff filed while
 3
     incarcerated were dismissed as frivolous or for failure to state a claim upon which relief may
 4
     be granted. See Lewis v. Seattle Police, et al., 01-1246 (“This dismissal shall count as a
 5
     dismissal under 28 U.S.C. § 1915(g); Lewis v. King County et al., 09-1039 (“This dismissal
 6

 7   shall count as a ‘strike’ under 28 U.S.C. § 1915(g); and Lewis v. King County, 18-1798 (“This

 8   dismissal shall count as a ‘strike’ under 28 U.S.C. § 1915(g).
 9           Having liberally construed the facts presented, the Court finds plaintiff ineligible to file
10
     this lawsuit in federal court without paying $400 ($350 filing fee plus $50 administrative fee).
11
     See 28 U.S.C. § 1915(g); see also Andrews v. King, 398 F.3d 1113, 1120 (9th Cir. 2005)
12
     (holding that once the prisoner has been placed on notice by the district court of potential
13

14   disqualification for IFP status under § 1915(g), “the prisoner bears the ultimate burden of

15   persuading the court that § 1915(g) does not preclude IFP status”).

16          Accordingly, if the Court does not adopt the recommendation that the complaint be
17   dismissed with prejudice for failing to state a claim upon which relief may be granted, the
18
     Court recommends that any IFP application plaintiff presents in this matter be denied, and that
19
     plaintiff be required to pay the filing fee or face dismissal of the case.
20
                                             CONCLUSION
21

22          The complaint should be dismissed with prejudice because it fails to state a claim upon

23   which relief may be granted. No amendment would cure the deficiencies in the complaint and

24   thus leave to amend should not be granted. If this recommendation is not adopted, the
25

26




       REPORT AND RECOMMENDATION - 3
             Case 2:19-cv-00878-MJP Document 4 Filed 06/10/19 Page 4 of 4




 1   complaint should be dismissed without prejudice under § 1915(g) the three-strikes rule, absent
 2
     payment of the filing fee.
 3
          A proposed order accompanies this Report and Recommendation. Any objections to this
 4
     Recommendation must be filed by June 24, 2019. If plaintiff believes he can cure his deficient
 5
     complaint, he should file an amended complaint along with any objections he files. The Clerk
 6

 7   should note the matter for June 28, 2019, as ready for the District Judge’s consideration.

 8   Objections are limited to 8 pages. The Clerk shall provide a copy of this Report and
 9   Recommendation to plaintiff and to the assigned district judge.
10
            DATED this 10th day of June, 2019.
11

12                                                        A
                                                          BRIAN A. TSUCHIDA
13                                                        United States Magistrate Judge

14

15

16

17

18

19

20

21

22

23

24

25

26




       REPORT AND RECOMMENDATION - 4
